17-23006-rdd    Doc 12     Filed 12/12/17     Entered 12/12/17 08:59:20          Main Document
                                             Pg 1 of 1                                                REPLY TO:
                                                                                     1400 Old Country Road, Suite
                                                                                                            C103
                                                                                             Westbury, NY 11590
                                                                                                   516-394-6921
                                                                                      _______________________

                                                                                        7 Century Drive, Suite 201
                                                                                            Parsippany, NJ 07054
                                                                                      _______________________

                                                                                   28 East Main Street, Suite 1800
                                                                                            Rochester, NY 14614


                                              December 11, 2017

      VIA ECF

      Hon. Robert D. Drain
      U.S. Bankruptcy Court
      Southern District of New York
      300 Quarropas Street
      White Plains, NY 10601

      RE:      Sean Steppe, Debtor
               Case Number: 17-23006

      Dear Judge Drain:

              As you are aware, this firm represents the Plaintiff in the above referenced
      matter. Please accept this letter as a status report for the loss mitigation efforts in
      the above referenced case. On June 23, 2017, the debtor was offered a trial period
      plan with payments beginning 8/1/17. The lender issued a denial on October 5,
      2017 as debtor failed to accept the trial period plan within the required time frame.
      At this time, we respectfully request termination of loss mitigation.

                                                     Respectfully submitted,



                                                     /s/ Jonathan C. Schwalb, Esq.
